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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

QUALCOMM INCORPORATED,                     )
  a Delaware corporation; and              )
QUALCOMM TECHNOLOGIES, INC.,               )
  a Delaware corporation,                  )   C.A. No. 24-490 (MN)
                                           )
                   Plaintiffs,             )   REDACTED – PUBLIC VERSION
                                           )   Original Filing Date: July 17, 2024
       v.                                  )   Redacted Filing Date: July 24, 2024
                                           )
ARM HOLDINGS PLC., f/k/a ARM LTD.,         )
  a U.K. corporation,                      )
                                           )
                   Defendant.              )

                     PLAINTIFFS’ ANSWERING BRIEF IN
            OPPOSITION TO DEFENDANT ARM’S MOTION TO DISMISS

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                        NATURE AND STAGE OF PROCEEDINGS

       Plaintiffs Qualcomm Incorporated and Qualcomm Technologies, Inc. (collectively,

“Qualcomm”) filed this action against Defendant Arm Holdings PLC (“Arm”) on April 18, 2024

asserting claims for breach of contract and declaratory relief. D.I. 2. On June 12, 2024, Arm

moved to dismiss the claims. D.I. 15. Qualcomm opposes the Motion.

                               SUMMARY OF ARGUMENTS

       Arm’s Motion to Dismiss the Complaint as compulsory counterclaims should be denied

for three reasons. First, in the lawsuit involving Arm’s claim against Nuvia and Qualcomm for

alleged breach of Arm’s contract with Nuvia (C.A. No. 22-1146, the “Arm Action”), Arm’s

counsel consented to Qualcomm bringing the               claims as a separate lawsuit. Thus, under

Third Circuit law, the compulsory counterclaim rule is no longer available to Arm as a ground for

dismissal. Second, Arm is estopped from arguing that the                    claims are compulsory

counterclaims because in convincing Judge Hatcher to deny-in-part Qualcomm’s motion for leave

to amend in the Arm Action, Arm’s counsel previously took an inconsistent position in the prior

proceeding, successfully advocating that these claims should be brought in a different proceeding.

Third, Arm’s Motion fails on the merits, because a correct application of Federal Rules of Civil

Procedure 13(a) demonstrates that the at-issue           claims do not share a logical relationship

to the main claims in the Arm Action. The Arm Action involves Nuvia’s and Qualcomm’s alleged

breach arising from the termination of Arm’s 2019 Architecture License Agreement with Nuvia

(the “Nuvia ALA”), whereas this action involves Arm’s breach of Arm’s 2013 license with

Qualcomm—an entirely different contract—based on Arm’s conduct in failing to provide

technology deliverables to Qualcomm. Because this                 action involves a different license

agreement and wholly different conduct arising from different transactions or occurrences, these

claims were permissive in the Arm Action not compulsory, and dismissal here is unwarranted.


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                                   STATEMENT OF FACTS

       Qualcomm is a leading wireless technology innovator and the driving force behind the

development, launch, and expansion of 5G technology. D.I. 2 ¶ 18. Qualcomm’s foundational

technologies enable the mobile ecosystem and are ubiquitous in every 3G, 4G, and 5G smartphone.

Id. Qualcomm also brings the benefits of mobile technologies to new industries, including

automotive and computing, where Qualcomm has driven the convergence of PC and mobile

technology to increase productivity, connectivity, and security in portable laptops. Id. This

technology, enabled by Qualcomm’s custom-designed, high-performance, low-power central

processing units (“CPUs”), utilizes a novel Qualcomm-created microarchitecture that is delivering

the next era of computing innovation. Id. ¶ 1.

       Arm develops certain processor technology that Qualcomm licenses for use in its CPU

(also referred to as cores). Id. ¶¶ 23–24, 37. Cores perform processing within Qualcomm’s

microchips, including the Snapdragon X Elite System-On-a-Chip (“SOC”). Id. ¶ 1. Qualcomm’s

license is known as an Architecture License Agreement (“Qualcomm ALA”). Id. ¶ 36. Under the

Qualcomm ALA, Arm

                                        . Nyarady Decl., Ex. 1 (Qualcomm ALA)         . Yet Arm

has, and continues to, willfully withhold                                      . D.I. 2 ¶¶ 63, 67.

I.     The Qualcomm Action

       A.      Arm Breached The Qualcomm ALA

       In this action, Qualcomm asserted a breach of contract claim against Arm.

                                are at issue.            of the Qualcomm ALA requires Arm to




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“OOB”),

        Id. When Qualcomm requested the OOBs and various patches (e.g., bug fixes) from Arm,

Arm engineer Vivek Agrawal, Arm Senior Principal Engineer, responded on October 10, 2022,

stating “I’ll be able to share OOB and various patches after my management has given their

approval.” Id. ¶ 52. But Arm failed to deliver the OOB. Id. ¶ 53. Qualcomm notified Arm in

writing of its failure to provide the OOB and other deliverables, stating that its letter serves as

“Qualcomm’s required notice under                that ARM is not in compliance with its obligations

under             and that ARM must cure this breach in accordance with the time and procedures

set forth therein.” Id. Arm’s response, which came after                                  asserted

that “[n]o additional delivery is required,” and “[n]o breach of         has occurred.” Id. ¶¶ 55–

56, 59. Because Arm alone is able to verify whether any additional delivery is required, Qualcomm

had no way to know whether Arm was correct, and had to take Arm at its word. Id. ¶ 59.

        Despite Arm’s representations, Qualcomm’s outside counsel began to investigate, and

became aware of, Arm’s breaches of                    in November 2023. Id. ¶¶ 13, 62. During

discovery in the Arm Action, Arm produced a document contradicting Arm’s prior representations

about its compliance with its obligations, and describing Arm’s intentional withholding of

deliverables—the OOBs and patches––from Qualcomm. Id. ¶ 62. On December 12, 2023, Mr.

Agrawal testified that Arm had withheld ACK “patches,” updates to the ACK that are created and

provided solely by Arm, even though those patches were supposed to be delivered to Qualcomm.

Id. ¶ 63. It was not until Mr. Agrawal’s deposition that Qualcomm (through its outside counsel)

was able to confirm whether the patches even existed, let alone that they were improperly withheld

in violation of            of the Qualcomm ALA. Id.




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          B.     Qualcomm Brings This Action Against Arm

          Qualcomm commenced this action on April 18, 2024 (the “Qualcomm Action”).

 Qualcomm seeks declaratory judgment that (1) Arm breached the Qualcomm ALA by withholding

 ARM Technology that Arm was obligated to make                             to deliver under

       of the Qualcomm ALA, and by withholding updates Arm was required to deliver

                                         of the Qualcomm ALA; (2) as a result of Arm’s breach of

               of the Qualcomm ALA, Qualcomm is entitled to




                 Id. ¶ 78. Qualcomm is also seeking damages for breach of                Id. ¶¶ 81–

 88.

 II.      The Arm Action

          A.     Factual Background

          Nuvia, founded in 2019 and acquired by Qualcomm in 2021, comprised a proven world-

 class CPU and technology design team, with industry-leading expertise in high-performance

 processors, SOCs, and power management for compute-intensive devices and applications. D.I.

 16, Ex. 1 (Defendants’ Redacted Answer and Defenses to Plaintiff’s Complaint and Jury Demand

 and Defendants’ Amended Counterclaim) ¶ 178. 3 Qualcomm acquired Nuvia to enable Qualcomm


 3
  To resolve a Rule 12(b)(6) motion, a court may properly look at public records, including judicial
 proceedings. RLI Ins. Co. v. Ceradyne, Inc., No. 20-CV-1777, 2021 WL 4860709, at *3 n.2 (D.
 Del. Oct. 19, 2021). Thus, the Court may rely on the Arm Complaint (C.A. No. 22-1146, D.I. 1);
 the redacted version of Defendants’ Answer and Defenses to Plaintiff’s Complaint and Jury
 Demand and Defendants’ Amended Counterclaim, filed October 26, 2022 (C.A. No. 22-1146, D.I.
 19); Exhibit 2 to the Nyarady Declaration, which is the proposed redacted version of the March 5,
 2024 Transcript of the Hearing on Qualcomm’s Motion for Leave to Amend (C.A. No. 22-1146,
 D.I. 312-1); and the redacted version of Defendants’ Letter Requesting Leave to Amend Answer
 and Counterclaim in deciding Arm’s Motion to Dismiss (C.A. No. 22-1146, D.I. 279).


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 to reduce its reliance on Arm by maintaining an in-house team capable of building its own “custom

 cores.” D.I. 2 ¶¶ 38, 41–43.

        Nuvia also had an architecture license agreement with Arm—the Nuvia ALA. D.I. 16, Ex.

 1 ¶ 185. Before Qualcomm completed the acquisition of Nuvia, Arm was notified of the impending

 transaction, but Arm refused to “consent” to assign the agreement to Qualcomm. Id. ¶¶ 188–206.

 Instead, Arm demanded that Qualcomm                                             to secure Arm’s

 consent, which was not required under either the Nuvia ALA or Qualcomm ALA. D.I. 2 ¶ 5.

 Qualcomm and Nuvia closed their transaction, and Qualcomm informed Arm that all Nuvia

 employees would become Qualcomm employees, and Qualcomm’s ALA would govern the

 parties’ relationship going forward. D.I. 16, Ex. 4 (Arm Compl. ¶ 43). While Qualcomm and

 Nuvia each had distinct and separate ALAs with Arm, Qualcomm’s ALA provided

                                                    rendering Nuvia’s ALA unnecessary. D.I. 16,

 Ex. 1 ¶ 13. Qualcomm then began the design of several custom CPU products. D.I. 2 ¶¶ 41–43.

 Almost a year after Qualcomm acquired Nuvia, Arm terminated Nuvia’s ALA. D.I. 16, Ex. 1 ¶

 31.

        B.     The Arm Proceeding

        On August 31, 2022, Arm filed its Complaint against Qualcomm and Nuvia alleging that

 (i) Nuvia breached the termination provisions of the Nuvia ALA and that Qualcomm, as Nuvia’s

 acquirer, shares Nuvia’s obligations; and (ii) Qualcomm and Nuvia infringed Arm’s trademarks

 under 15 U.S.C. § 1114 and falsely designated origin under 15 U.S.C. § 1125 in connection with

 marketing their semiconductor chips incorporating relevant Nuvia technology developed under

 Nuvia’s now-terminated licenses (the “Arm Complaint”). D. I. 16, Ex. 4 ¶¶ 58–94. Arm is seeking

 specific performance for its contract claim, demanding that Qualcomm cease using and destroy

 any technology developed by Nuvia. Id. ¶ 68. In connection with its two trademark-related claims,


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 Arm is seeking declaratory relief and an injunction to prevent Qualcomm from using Arm’s

 trademarks. Id. ¶¶ 79–82, 91–94.

        The crux of the Arm Action is the alleged breach of the Nuvia ALA. See id. ¶¶ 58–69.

 Arm argues that after Nuvia’s licenses were terminated, Qualcomm and Nuvia were required to

 stop using and destroy technology Nuvia received under the Nuvia ALA and certify in writing that

 it had done so. Id. ¶¶ 39–42. Despite Nuvia’s certification, Arm believes that Qualcomm

 continued to use certain technology obtained under the Nuvia ALA, and that doing so is causing

 Arm “irreparable harm,” therefore entitling Arm to specific performance. Id. ¶¶ 45–57. Arm’s

 claims in the Arm Action arise only from the Nuvia ALA; Arm made no claim involving the

 Qualcomm ALA. See id. ¶¶ 58–69.

        Qualcomm answered Arm’s complaint and counterclaimed, seeking a declaratory

 judgment that (i) Defendants did not breach the Nuvia ALA or TLA as Arm alleged; (ii) following

 the Nuvia acquisition, Qualcomm’s architected cores, Server SOC, and Compute SOC, are

 licensed under Qualcomm’s ALA and TLA for the full terms of those licenses; (iii) Arm’s public

 statements that Qualcomm’s ALA expires in 2024 and that Qualcomm will be unable to deliver

 Arm-compliant products after 2024 are false, considering the ALA specifically licenses

 Qualcomm for several years past 2025, and provides Qualcomm with the unilateral right to further

 extend the contract; and (iv) Arm has no right to prevent Qualcomm from shipping its licensed

 products. D.I. 16, Ex. 1 ¶ 259.

 III.   Qualcomm’s Motion To Add New Counterclaims In The Arm Action

        On February 21, 2024, two months after Agrawal’s deposition that revealed the existence

 and extent of Arm’s purposeful withholding of both patches and the OOB, Qualcomm sought leave

 to amend its Answer and Counterclaims to allege additional counterclaims. See D.I. 16, Ex. 6

 (Feb. 29, 2024 Redacted Ltr. Mot. Requesting Leave to Amend Answer and Counterclaim).


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 Qualcomm noted that after the deadline to amend Arm produced the vast majority of its 60,000

 documents, and only after that was Qualcomm able to depose key Arm witnesses, both of which

 revealed the existence and extent to which Arm was withholding patches and OOBs. Id. at 11.

 Qualcomm sought leave to add two counterclaims concerning (i) Arm’s failure to comply with

                  of the Nuvia ALA and TLA; and (ii) Arm’s failure to comply with                     of

 the Qualcomm ALA. See id. at 1–2. In its Motion, Qualcomm noted that to “the extent the [c]ourt

 does not grant Qualcomm’s [M]otion to [A]mend, Qualcomm respectfully requests that the [c]ourt

 amend Paragraph 34 of the Protective Order . . . so [that] Qualcomm can use discovery from this

 litigation to pursue . . . a separate action.” Id. at 3.

         At the March 5, 2024 hearing before Judge Hatcher, Arm’s counsel argued that Qualcomm

 should file its claims in a separate action rather than being able to amend its counterclaims in the

 Arm Action. In particular, Arm’s counsel stated, “[w]e really think [Qualcomm’s additional

 counterclaims are] a topic that should be left for a future [c]ourt, if at all,” and “[i]f there were to

 be any way [an additional counterclaim] gets added, it really should be then dealt with as a separate

 proceeding or separate process.” Nyarady Decl., Ex. 2 (Redacted Mar. 5, 2024 Hr’g Tr.) at 40:3–

 4; 14–16. Arm’s counsel further emphasized that allowing the                  claims to proceed would

 delay the trial and upend discovery because the counterclaims would change the nature of the

 claims in the Arm Action. Id. at 35:1–7 (asserting that Arm will be prejudiced by Qualcomm’s

 motion to amend its counterclaims because it could complicate trial and “upend[] the discovery

 schedule with . . . a very substantial amount of discovery”); 38:15–19 (claiming that “the amount

 of discovery that would be associated with [Qualcomm’s proposed counterclaims] would be much

 broader and the issues involved much more significant and would certainly put things out and

 beyond”); 38:20–39:8 (arguing that Qualcomm’s counterclaims would work “a fundamental




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 change to the nature of the claim because . . . what we have presently are equitable claims,

 declaratory relief claims, and specific performance claims” and “[a]dding these new claims would

 turn it into a jury trial”).

           Judge Hatcher granted Qualcomm’s motion with respect to its                    claims, but

 not its               claims. See D.I. 16, Ex. 3-B (Order dated Mar. 6, 2024); see also Nyarady

 Decl., Ex. 1         . Based on Arm’s assertion that the             claims should be dealt with in

 a separate proceeding, and because the               claims involve a separate agreement and Arm’s

 separate conduct, which has never been at issue in the Arm Action, Qualcomm did not object to

 Judge Hatcher’s ruling pursuant to Rule 72 of the Federal Rules of Civil Procedure, and instead

 filed this separate action.

                                       LEGAL STANDARD

           The inquiry under Rule 12(b)(6) is whether, construing the well-pleaded facts of the

 complaint in the light most favorable to the plaintiff, the complaint states a claim for which relief

 can be granted. General Life Ins. v. Goldstein, 741 F. Supp. 2d 604, 610 (D. Del. 2010). Under

 Rule 13(a) “[a] pleading must state as a counterclaim any claim that—at the time of its service—

 –the pleader has against an opposing party if the claim: (A) arises out of the transaction or

 occurrence that is the subject matter of the opposing party’s claim; and (B) does not require adding

 another party over whom the court cannot acquire jurisdiction.” Fed. R. Civ. P. 13(a)(1). Under

 Third Circuit law, “a claim is a compulsory counterclaim [if] it bears a logical relationship to an

 opposing party’s claim.” Xerox Corp. v. SCM Corp., 576 F.2d 1057, 1059 (3d Cir. 1978); see also

 Azurity Pharms., Inc. v. Bionpharma Inc., 650 F. Supp. 3d 269, 276 (D. Del. 2023) (“A

 counterclaim is compulsory if it ‘bears a logical relationship’ to the primary claim.” (emphasis

 added) (citation omitted)). Despite the compulsory counterclaim rule, courts will allow a party to

 split its claims between two separate lawsuits when “[t]he parties have agreed in terms or in effect


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 that the plaintiff may split his claim, or the defendant has acquiesced therein.” Restatement

 (Second) of Judgments § 26(1)(a) 4; Bradley v. Pittsburgh Bd. of Educ., 913 F.2d 1064, 1073 (3d

 Cir. 1990).

                                            ARGUMENT

 I.     Arm’s Motion To Dismiss Should Be Denied Because Arm Acquiesced In
        Qualcomm Filing The            Case

        Even assuming that Qualcomm’s                   claims are compulsory counterclaims, which

 they are not, see infra at 13–20, Arm’s counsel made statements to Judge Hatcher in the Arm

 Action that indicated that Arm acquiesced to Qualcomm asserting its                       claims in a

 separate lawsuit. Now, after Qualcomm did exactly as Arm’s counsel argued it should, Arm is

 taking an inconsistent position. As a matter of Third Circuit law, Arm’s Motion should be denied.

        A.      Arm Acquiesced To Qualcomm Bringing This Action

        The general requirement that a party must raise its compulsory counterclaims in one action

 “is to protect the defendant from being harassed by repetitive actions based on the same claim.

 The rule is thus not applicable when the defendant consents, in express words or otherwise, to the

 splitting of the claim.” Restatement (Second) of Judgments § 26 cmt. a. Bradley v. Pittsburgh

 Board of Education, 913 F.2d 1064 (3d Cir. 1990) is instructive. There, the Third Circuit reversed

 a District Court dismissal relying on Bradley’s reservation of a federal claim in the state

 proceedings, noting the defendant should have objected to this reservation. Id. at 1073. By failing

 to do so, the court found that defendants had acquiesced in the reservation of a federal claim. Id.

 The Third Circuit endorsed the Restatement (Second) of Judgments § 26(1)(a), quoting from

 comment (a) that “[t]he failure of the defendant to object to the splitting of the plaintiff’s claim is



 4
  Delaware has adopted the Restatement (Second) of Judgments approach to preclusion. See, e.g.,
 Washam v. J. C. Penney Co., 519 F. Supp. 554, 558–59 (D. Del. 1981).

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 effective as an acquiescence in the splitting of the claim.” Id. at 1072; see also R & J Holding Co.

 v. Redevelopment Auth. of Cnty. of Montgomery, 670 F.3d 420, 428 (3d Cir. 2011) (applying

 Pennsylvania state law, also following Restatement (Second) of Judgments) (“Defendants uttered

 not a word about the reserved federal claims while Plaintiffs prosecuted their state claims all the

 way to the Pennsylvania Supreme Court. They cannot now benefit from their silence.”).

        Here too Arm’s counsel acquiesced in Qualcomm filing this lawsuit. Arm’s counsel stated

 at oral argument that: (1) Qualcomm’s         claims “should be left for a future Court, if at all,”

 Nyarady Decl., Ex. 2 at 40:4; (2) “[i]f there were to be any way something gets added, it really

 should be then dealt with as a separate proceeding or separate process and not interfere with that,”

 id. at 40:14–16; and (3) these claims “may be better suited elsewhere,” id. at 40:18. Accordingly,

 Arm’s acquiescence to Qualcomm’s right to separately file its                  claims insulates these

 claims from Rule 13.

        Moreover, Qualcomm specifically preserved its right to bring a separate action in the event

 that its Motion to Amend was denied, expressly stating that to “the extent the [c]ourt does not grant

 Qualcomm’s [M]otion to [A]mend, Qualcomm respectfully requests that the [c]ourt amend

 Paragraph 34 of the Protective Order . . . so [that] Qualcomm can use discovery from this litigation

 to pursue . . . a separate action.” D.I. 16, Ex. 6 at 3. See, e.g., Bradley, 913 F.2d at 1072–73; see

 also Venuto v. Witco Corp., 117 F.3d 754 (3d Cir. 1997) (permitting the second lawsuit to go

 forward based on the court’s preservation of the claim in a prior action).

        Arm not only failed to object to Qualcomm asserting                   claims in a separate suit,

 it argued that a new case was the better course. Because Qualcomm’s claims were preserved by

 its express reservation––which Arm embraced––Arm is barred from arguing that they are

 compulsory counterclaims.




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        B.      Arm Should Be Judicially Estopped From Arguing The                     Claims Are
                Compulsory Counterclaims

        A court may exercise its discretion to apply judicial estoppel to preclude assertion of a

 claim or legal argument when it finds the following three factors are present: “(1) the party to be

 estopped is asserting a position that is irreconcilably inconsistent with one he or she asserted in a

 prior proceeding; (2) the party changed his or her position in bad faith, i.e., in a culpable manner

 threatening to the court’s authority or integrity; and (3) the use of judicial estoppel is tailored to

 address the affront to the court’s authority or integrity.” IMEG Corp. v. Patel, No. 20-CV-111,

 2021 WL 184407, at *7 (D. Del. Jan. 19, 2021) (quotation omitted).

        Here, Arm has taken an inconsistent position. In the Arm Action, Arm told Judge Hatcher

 that “[i]f there were to be any way something gets added, it really should be then dealt with as a

 separate proceeding or separate process and not interfere with that,” Nyarady Decl., Ex. 2 at 40:14–

 16, and that these claims “may be better suited elsewhere,” id. at 40:18. Now Arm contends that

 the             claims are compulsory counterclaims barred by Rule 13 and principles of claim

 preclusion. D.I. 15 at 1, 9–12. Arm’s actions suggest the bad faith prong has been met.

        In addition, but for Arm’s counsel’s statement to the Court, Judge Hatcher would have

 been required to consider the impact of denying Qualcomm’s Motion to Amend and the resulting

 prejudice to Qualcomm should the ruling result in Qualcomm losing “the opportunity to litigate

 their counterclaims if they are not brought in the present action.” Perfect Plastics Indus., Inc. v.

 Cars & Concepts, Inc., 758 F. Supp. 1080, 1082 (W.D. Pa. 1991) (citing 6 Wright Miller & Kane,

 Federal Practice and Procedure § 1430 at 223 (3d ed. 1990)). Because Judge Hatcher relied on

 Arm’s statements that Qualcomm could bring the                 claims in a separate lawsuit, the court

 did not consider that denying the Motion to Amend based on its untimeliness would bar Qualcomm

 from bringing the              claims entirely or the resulting prejudice to Qualcomm.



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        Arm cannot have it both ways.          Arm previously urged the Court to deal with the

 counterclaims in a new suit, and the Court adopted this position. See Haines & Kibblehouse, Inc.

 v. Balfour Beatty Constr., Inc., 553 F. App’x 246, 251 (3d Cir. 2014) (affirming application of

 judicial estoppel because “the record was sufficient for the District Court to conclude that H & K

 affirmatively misrepresented its procedural position and played fast and loose with the courts”

 (internal quotation marks omitted)); StairMaster Sports/Medical Products, Inc. v. Groupe

 Procycle, Inc., 25 F. Supp. 2d 270, 279–80 (D. Del. 1998) (applying judicial estoppel to prevent

 inconsistent construction of a phrase at issue in the litigation).

 II.    Arm’s Motion Fails On The Merits Because Qualcomm’s                         Claims Are
        Not Compulsory Counterclaims

        Even if Arm had not acquiesced to filing the                  claims in a separate case, its

 motion should be denied because these claims are not compulsory counterclaims. Arm incorrectly

 argues that the               claims should be dismissed as compulsory counterclaims because

 “Qualcomm’s claims” in the Arm Action share a logical relationship with the                 claims.

 D.I. 15 at 9–11. But this argument fails because Arm mischaracterizes the nature of the Arm

 Action, which involves a different contract altogether, unrelated provisions of the respective

 contracts, and centers on Nuvia’s and Qualcomm’s conduct, not Arm’s.

        A compulsory counterclaim is one that “arises out of the transaction or occurrence that is

 the subject matter of the opposing party’s claim” and “does not require adding another party over

 whom the court cannot acquire jurisdiction.” Fed. R. Civ. P. 13(a)(1). A precise identity of issues

 and facts between the claim and the counterclaim is not required; rather, the relevant inquiry is

 whether the counterclaim “bears a logical relationship to an opposing party’s claim.” Xerox Corp.,

 576 F.2d at 1059. “[A] counterclaim is logically related to the opposing party’s claim where

 separate trials on each of their respective claims would involve a substantial duplication of effort



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 and time by the parties and the courts.” Id. (quotation omitted).

        A logical relationship necessitates a fact-intensive inquiry that “militate[s] against the use

 of any general rule.” Id. at 1060. A “detailed analysis must be made to determine whether the

 claims involve: (1) many of the same factual issues; (2) the same factual and legal issues; or (3)

 offshoots of the same basic controversy between the parties.” Brady v. C.F. Schwartz Motor Co.,

 723 F. Supp. 1045, 1048 (D. Del. 1989) (quoting Xerox Corp., 576 F.2d at 1059); see, e.g., S.

 Megga Telecomms. Ltd. v. Lucent Techs., Inc., No. 96-CV-357, 1997 WL 86413, at *10 (D. Del.

 Feb. 14, 1997) (finding no “logical relationship” between claims where telephones at issue in

 subsequent complaint were not at issue in complaint for main action); Metallgesellschaft AG v.

 Foster Wheeler Energy Corp., 143 F.R.D. 553, 558 (D. Del. 1992) (finding counterclaim

 permissive despite “some logical relationship” involving “common issues of fact and law,

 supported or refuted by some overlapping evidence”); Paine, Webber, Jackson & Curtis, Inc. v.

 Merrill Lynch, Pierce, Fenner & Smith, Inc., 587 F. Supp. 1112, 1114 (D. Del. 1984) (concluding

 that trade secret counterclaim bore “no logical relationship” to patent claims even though both

 claims involved similar cash management technology).

        A.      There Is No Logical Relationship Between The                  Claims And Arm’s
                Claims In The Arm Action

        Arm argues that Qualcomm’s “claims in this new action involve the same underlying facts

 and contractual issues as the original action, as the pleadings in the original action make clear.”

 D.I. 15 at 10. This contention is wrong.

        First, Arm’s argument relies on its fundamental mischaracterization of the nature of

 Qualcomm’s counterclaims by characterizing Qualcomm’s counterclaims, that its products were

 licensed under Qualcomm’s ALA, as affirmative claims. See id. at 9–11. See supra at 7–9. Thus,

 Arm is arguing that Qualcomm’s                claims in this action are compulsory to Qualcomm’s



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 own counterclaims in the Arm Action. D.I. 15 at 9–11. That is not the correct inquiry. Rule 13(a)

 states that a compulsory counterclaim is one that “arises out of the transaction or occurrence that

 is the subject matter of the opposing party’s claim,” not a party’s own counterclaim. Fed. R. Civ.

 P. 13(a)(1) (emphasis added); see, e.g., Azurity Pharms., 650 F. Supp. 3d at 276 (“A counterclaim

 is compulsory if it ‘bears a logical relationship’ to the primary claim.” (emphasis added) (quotation

 omitted)); Zero Techs., LLC v. Clorox Co., No. 22-CV-3989, 2024 WL 343169, at *10 (E.D. Pa.

 Jan. 30, 2024) (“Whether a counterclaim is compulsory under Rule 13(a) turns on whether it arises

 out of the ‘transaction or occurrence’ that is the subject matter of the opposing party’s claim, and

 this standard is met when there is a ‘logical relationship’ between the counterclaim and the main

 claim.” (emphasis added) (quotation omitted)). Applying Rule 13(a) correctly, there is no overlap

 of factual or legal issues between the             claims and Arm’s claims in the Arm Action.

        Moreover, the                claims in this case and the claims asserted in the Arm Action do

 not share factual issues. In this              case, Qualcomm is seeking relief because Arm has

 breached its obligations under the Qualcomm ALA. See supra at 7–9; D.I. 2 ¶¶ 2–17. Arm

 withheld the OOB and patches, which Arm is obligated to deliver under                        and the

 applicable Annex 1 to the Qualcomm ALA. Id. ¶¶ 50, 63. Arm is also withholding various patches

 that Qualcomm is entitled to under the Qualcomm ALA. Id. ¶ 52. Arm’s conduct in withholding

 these deliverables forms the basis for these             claims.

        In contrast, the transaction or occurrence in the Arm Action concerns the alleged breach of

 Nuvia’s ALA and alleged trademark infringement. See D.I. 16, Ex. 4. Arm’s breach claim

 involves its contention that Nuvia and Qualcomm did not comply with their alleged obligation to

 destroy Arm Technology, and its trademark claim involves Qualcomm’s purported use of the Arm

 word mark in marketing its custom-designed CPUs. Id. ¶¶ 39, 62, 64. Neither claim involves the




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 Qualcomm ALA, and it is based on Qualcomm’s and Nuvia’s conduct rather than actions by Arm.

 See id. Simply put, the               claims and Arm’s claims are asserted pursuant to different

 contracts between different parties concerning unrelated provisions. As such, the issues asserted

 in the Qualcomm Complaint are not logically related to the Arm Complaint. See, e.g., PHL

 Variable Ins. Co. v. Helene Small Ins. Tr. ex rel. Wilmington Sav. Fund Soc., FSB, No. 12-CV-

 00312, 2012 WL 5382905, at *2 (D. Del. Nov. 1, 2012) (“Although the cost of insurance

 adjustment arose from the underlying policy, the legal and factual issues surrounding the alleged

 breach of contract concern contract and insurance matters unrelated to the ‘insurable interest’

 dispute that is at the heart of the complaint.”) (emphasis added); S. Megga Telecomms. Ltd., 1997

 WL 86413, at *10 (finding “no significant overlap of facts or law” despite “both . . . claims

 involv[ing] the interpretation of” the same contract).

        Indeed, in the Arm Action, Arm’s counsel argued to the Court that if the               claims

 were permitted to go forward in the Arm Action, it would “complicat[e] [the] trial,” “upend[] the

 discovery schedule,” and require a “very substantial amount of discovery.” Nyarady Decl., Ex. 2

 at 35:3–7. These arguments establish that these                     claims do not share a logical

 relationship. See Xerox Corp., 576 F.2d at 1061.

        Even assuming arguendo that there is some logical relationship, see D.I. 15 at 9–11, that

 alone is insufficient to establish that the factual issues between the claims are the same. S. Megga

 Telecommunications Ltd. illustrates this point. There, the parties entered into a contract to produce

 consumer electronics, with defendant Lucent providing a license for the technology and plaintiff

 S. Megga manufacturing the products. 1997 WL 86413, at *1. The relationship was terminated

 by Lucent, and S. Megga sued for breach of contract and other claims. Id. at *2. Lucent asserted

 counterclaims alleging, inter alia, that S. Megga had sold phones without Lucent’s permission. Id.




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 at *2–3. The court concluded that although both claims involve the interpretation of the same

 contract, Lucent’s counterclaims were not compulsory under Rule 13(a) because “[t]he factual

 issues involved in Lucent’s counterclaims concern telephones,” which were “not at issue in

 plaintiffs’ complaint.” Id. at *10. Likewise, because Qualcomm’s                    claims involve

 wholly different conduct than that alleged by Arm in the Arm Action, the two claims cannot share

 a logical relationship.

        Second, there is no overlap of legal issues because Arm is seeking specific performance,

 under the Nuvia ALA, declaratory judgment for trademark infringement pursuant to 15 U.S.C.

 § 1114, and declaratory judgment for false designations pursuant to 15 U.S.C. § 1125 et seq. D.I.

 16, Ex 4 ¶¶ 58–94. In this action, Qualcomm is seeking damages for breach of the Qualcomm

 ALA, which is a different contract between different parties. See, e.g., M.R. v. Ridley Sch. Dist.,

 744 F.3d 112, 121 (3d Cir. 2014) (second case not barred by Rule 13(a) where “despite a

 relationship between the two lawsuits, there [was] no meaningful overlap between the facts and

 law underlying the different claims at issue”); S. Megga Telecomms. Ltd., 1997 WL 86413, at *10

 (finding no logical relationship where no overlap of legal issue because claims arose from different

 aspects of business relationship); see also NRT Tech. Corp. v. Everi Holdings Inc., No. 19-CV-

 804, 2020 WL 3403091, at *5 (D. Del. June 19, 2020), report and recommendation adopted, 2020

 WL 5742792 (D. Del. Sept. 25, 2020).

        Thus, Qualcomm’s                 claims are not compulsory counterclaims.

        B.      Collateral Estoppel And Res Judicata Do Not Bar The                 Claims

        Arm argues that “courts have held that the claim preclusion doctrines of collateral estoppel

 and res judicata bar an attempt to bring compulsory counterclaims in a new action following the

 denial of leave to amend, even if the original action remains pending.” D.I. 15 at 13. This

 argument misses the point. Res judicata and collateral estoppel cannot be invoked here.


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        Collateral estoppel “prevents the re-litigation of a factual or legal issue that was litigated

 in an earlier proceeding.” Doe v. Hesketh, 828 F.3d 159, 171 (3d Cir. 2016). To assert collateral

 estoppel Arm must show that “(1) the identical issue was decided in a prior adjudication; (2)

 there was a final judgment on the merits; (3) the party against whom the bar is asserted was a

 party or in privity with a party to the prior adjudication; and (4) the party against whom the bar is

 asserted had a full and fair opportunity to litigate the issue in question.” Id. (quotation omitted).

 “[F]ederal law appl[ies] res judicata or claim preclusion when three circumstances are present:

 ‘(1) a final judgment on the merits in a prior suit involving (2) the same parties or their privies

 and (3) a subsequent suit based on the same cause of action.’” In re Mullarkey, 536 F.3d 215,

 225 (3d Cir. 2008) (quoting Post v. Hartford Ins. Co., 501 F.3d 154, 169 (3d Cir. 2007)).

        Collateral estoppel cannot apply here because Arm cannot establish that the merits of the

             claims were “actually litigated.” Home Depot USA, Inc. v. Lafarge N. Am., Inc., 59 F.

 4th 55, 63 (3d Cir. 2023) (quoting Arizona v. California, 530 U.S. 392, 414 (2000)); see also

 Williams v. Litton Loan Servs., 788 F. App’x 819, 823 (3d Cir. 2019) (finding claims not barred

 by collateral estoppel because they were “not final”). The Court in the Arm Action did not reach

 the merits of Qualcomm’s claims, it only passed on the procedural question of whether amendment

 was proper. In fact, as discussed in further detail above, supra at 10–13, Arm indicated to the

 Court in the Arm Action that the              claims should be adjudicated in a subsequent lawsuit.

 See Nyarady Decl., Ex. 2 at 40:4, 40:14–16, 40:18. Thus, according to Arm’s own counsel, the

 merits of the             claims were not actually litigated. See, e.g., Howmedica Osteonics Corp.

 v. Schilling, No. 20-CV-9621, 2022 WL 17887226, at *4 (D.N.J. Dec. 23, 2022) (rejecting

 application of collateral estoppel where defendant’s personal breach of contract was not “actually

 litigated” in a prior action between his former and subsequent employers).




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         Res judicata cannot bar the            claims because there was no final judgment on the

 merits in the Arm Action. The court’s only finding was that Qualcomm possessed sufficient

 information to assert the              claims before the deadline to amend, which is a strictly

 procedural question. D.I. 16, Ex. 3-B at 5; see also Nyarady Decl., Ex. 1         . Arm incorrectly

 argues that a denial of the motion to amend a complaint in the Arm Action is sufficient to bar the

 claims for purposes of res judicata and collateral estoppel. D.I. 15 at 13–14. Arm relies on

 Yeransian v. Markel Corporation, No. 20-CV-762, 2021 WL 979604 (D. Del. Mar. 16, 2021), see

 D.I. 15 at 13, but Arm’s reliance is misplaced. In Yeransian, the earlier court denied the motion

 to amend on the merits. See Yeransian v. B. Riley & Co., LLC, No. 18-CV-304, 2019 WL 252029,

 at *1 (D. Neb. Jan. 17, 2019). Here, Qualcomm’s motion to amend was denied on timeliness

 grounds—the court did not engage in substantive arguments required for an adjudication on the

 merits. See D.I. 16, Ex. 3-B; McKenna v. City of Philadelphia, 304 F. App’x 89, 93 (3d Cir. 2008)

 (denial of leave to amend has preclusive effect only when based on the merits).

         C.      Qualcomm’s Attempt To Assert Its         Counterclaims In The Arm Action
                 Does Not Render Them Compulsory Counterclaims

         Arm argues that Qualcomm’s attempt to amend its Answer in the Arm Action is

 confirmation that the             claims are compulsory counterclaims. D.I. 15 at 11–12. This

 argument also fails. As discussed above, see supra at 14–17, the              claims do not bear a

 logical relationship to Arm’s claims in the Arm Action; they do not arise from the same transaction

 or occurrence, and therefore, may be brought as permissive counterclaims. See PHL Variable Ins.

 Co., 2012 WL 5382905, at *2 (finding claims permissive counterclaims despite some overlap of

 factual issues); Brady, 723 F. Supp. at 1048 (“Unlike Rule 13(a), however, permissive

 counterclaims under Federal Rule of Civil Procedure 13(b) are not barred when omitted from an

 original action.”).



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                                       CONCLUSION

        For the reasons discussed above, Arm’s Motion to Dismiss should be denied.


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 July 17, 2024




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 17, 2024, I caused the foregoing to be electronically filed with

 the Clerk of the Court using CM/ECF, which will send notification of such filing to all registered

 participants.

        I further certify that I caused copies of the foregoing document to be served on

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